             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF DELAWARE


IN RE: ASHINC CORPORATION, et al.,   Chapter 11
                                     Bankr. No. 12-11564-CSS
               Debtors.              (Jointly Administered)


CATHERINE E. YOUNGMAN,
LITIGATION TRUSTEE FOR ASHINC        Adv. No. 13-50530-CSS
CORPORATION, ET AL., AS
SUCCESSOR TO THE OFFICIAL
COM1v1ITTEE OF UNSECURED
CREDITORS OF ASHINC
CORPORATION, AND ITS AFFILIATED
DEBTORS,

               Plaintiff,

BDCM OPPORTUNITY FUND II, LP,
BLACK DIAMOND CLO 2005-1 LTD.,
and SPECTRUM INVESTMENT
PARTNERS, L.P.,

               Intervenors,

               v.

YUCAIPA AMERICAN ALLIANCE FUND:
L.P., AND YUCAIPA AMERICAN
ALLIANCE (PARALLEL) FUND I, L.P.,

               Defendants.

CATHERINE E. YOUNGMAN,
LITIGATION TRUSTEE FOR ASIDNC        Adv. No. 14-50971-CSS
CORPORATION, ET AL., AS
SUCCESSOR TO BDCM OPPORTUNITY
FUND II, LP, BLACK DIAMOND
COMMERCIAL FINANCE, L.L.C., as
co-administrative agent, and SPECTRUM
COMMERCIAL FINANCE LLC, as
co-administrative agent,
                                                    Civ. No. 21-1060-CFC
                   Plaintiff,

                   V.

YUCAIPA AlvIBRICAN ALLIANCE FUND:
I, L.P., and YUCAIPA AlvIBRICAN
ALLIANCE (PARALLEL) FUND I, L.P.,

                   Defendants.



                                      ORDER

      For the reasons set forth in the accompanying Memorandum Opinion, it is

hereby ORDERED that:

      1.    Based on the Bankruptcy Court's own prior determination, and the

parties' agreement, the Court DOES NOT ADOPT any holding in the Opinion or

Order that Lender Claim 2 (i) "is a core proceeding, pursuant to 28 U.S.C. § 157(b)"

or a claim for which "this [Bankruptcy] Court has the judicial power to enter a final

order."

      2.    Yucaipa's remaining 9033 Objections with respect to Lender Claim 2

are OVERRULED and the remaining proposed findings of fact and the conclusions

of law set forth in the Opinion in support of the Bankruptcy Court's grant of

summary judgment in favor of the Trustee and against Yucaipa with respect to


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Lender Claim 2 are ADOPTED.

                              Entered this Eleventh day of July 2022.



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